       Case 2:15-cr-00144-SMJ           ECF No. 815        filed 12/29/17      PageID.3306 Page 1 of 2
 PROB 12C                                                                          Report Date: December 28, 2017
(6/16)

                                       United States District Court
                                                                                                            FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON
                                                       for the

                                        Eastern District of Washington
                                                                                                   Dec 29, 2017
                                                                                                       SEAN F. MCAVOY, CLERK

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Hunter H. Haley                           Case Number: 0980 2:15CR00144-SMJ-4
 Address of Offender:                             Reardan, Washington 99029
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: November 29, 2016
 Original Offense:        Conspiracy to Commit Bank Fraud 18 U.S.C. § 1349, Aggravated Identity Theft 18
                          U.S.C. § 1028(a)(1), Possession of Stolen Mail 18 U.S.C. § 1708
 Original Sentence:       Prison - 1 day                     Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Allyson Edwards                    Date Supervision Commenced: November 29, 2016
 Defense Attorney:        David Fletcher                    Date Supervision Expires: November 28, 2019


                                           PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 07/17/2017 and 08/04/2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            5           Special condition # 2: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis testing (which may include urinalysis or sweat patch), as directed
                        by the supervising officer, but no more than 6 tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: On December 2, 2016, Mr. Haley’s conditions of supervised release
                        were reviewed. Mr. Haley signed his judgment acknowledging an understanding of his
                        conditions of supervision, to include special condition number 2, as noted above.

                        Mr. Haley violated his conditions of supervised release by using methamphetamine on or
                        about December 26, 2017.

                        On December 28, 2017, Mr. Haley reported to the U.S. Probation Office as instructed. It was
                        at this time Mr. Haley provided a urinalysis that tested presumptive positive for
                        methamphetamine. After initially being deceitful, Mr. Haley admitted to the undersigned,
                        and via a signed document, that he used methamphetamine on or about December 26, 2017.
     Case 2:15-cr-00144-SMJ           ECF No. 815        filed 12/29/17      PageID.3307 Page 2 of 2
Prob12C
Re: Haley, Hunter H.
December 28, 2017
Page 2
The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this
petition in future proceedings with the violation(s) previously reported to the Court.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     12/28/2017
                                                                            s/Jonathan C. Bot
                                                                            Jonathan C. Bot
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [   ]    No Action
 [   ]    The Issuance of a Warrant
 [   ]    The Issuance of a Summons
 [   ]    The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                            Signature
                                                                            Si
                                                                            S ignature of Judicial Of
                                                                                                   Officer
                                                                                                    ffi
                                                                                                      ficeer

                                                                            12/29/2017
                                                                            Date
